CaS€ 15-12428-L|\/||

UNITED STATES BANKRUP’I`CY COURT
SOUTHERN DISTRICT OF FLORIDA

301 NORTH MlAMI AVENUE ROOM 150
MIAMI, FL 33128

Doc 49

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Bank of America¢r*//

Bank of America N.A.
NC4-105-02-99
4161 Piedmont Parkway
Greensboro, NC 27410-6012
Tel 888-702-1161
Fax 336-805-3509

UNITED sTATEs BANKRUPTCY COURT
Southern District of Florida (Miami)

In Re: SCOTT JAY HOPP

Case Number: 15- 12428

BANK OF AMERICA filed a claim on: 04/22/2015

Account number: 5099
Chapter: 13

This claim was: 003

Please WITHDRAW that claim, which was submitted for $25563.53.

Sincerely,

/S/ MIRANDA MCDOWELL
AVP. Bankruptcy Specialist

Enclosures

